     Case 1:13-cv-00569-CRC Document 105-1 Filed 02/03/17 Page 1 of 18




                                UNITED STATES DISTRICT COURT
                                FOR TIIE DISTRICT OF COLUMBIA

 KIMBERLY KATORA BROWN, eta!.

                            Plaintiffs,               Civil Action No: 13-569 (CRC)

          v.

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA

                           Defendant


               Julius Tom Gordon's Responses to the District's First Set of Interrogatories


Plaintiffs Objection to Defendant's Instructions


        Plaintiffs object to defendants' instructions because neither Fed. R. Civ. P. 33 nor Fed. R.
Civ. P. 34 authorizes parties to make up their own instructions. Each Plaintiffs responses are
governed by the Rules.

Interrogatory# 1.

State your full name (including any former names or aliases), date of birth, residential address(es)
since age 18, specifying your address during the events alleged in the Second Amended Complaint
and whether you provided that address to the Metropolitan Police Department (MPD) when your
vehicle and/or currency was seized. In addition, provide your driver's license number, identifying
the jurisdiction where you are licensed to drive, both now and at the time of the events alleged in
the Second Amended Complaint.

Objection: work product doctrine.

Response:

Name: Julius Martin "Tom" Gordon

DOB:




                                                                               Ps. Ex. # C, p. 1
                                                                    Brown v. DC, 13-569 (CRC)
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10.

State whether you received a Notice of Intent to Administratively forfeit following the seizure of
your vehicle and/or currency, including the date of the Notice, when you received it, and where it
was received. If you received no Notice and you contend that you would have availed yourself of
procedure to challenge the seizure had you received notice, and that you would have
       . if a post-seizure hearing had been afforded, state all facts and circumstances 'to support
your contention:

Objection: work product doctrine.

Response:

The District never gave any notice. If they had I would have talked to my Georgetown lawyer and
asked her what to do.




Isl William Claiborne
William Claiborne




                                                                           Ps. Ex. # C, p. 2
                                                                Brown v. DC, 13-569 (CRC)
       Case 1:13-cv-00569-CRC Document 105-1 Filed 02/03/17 Page 3 of 18



REDACTED

Gordon signature page redacted because his license is next to his signature




                                                                               Ps. Ex. # C, p. 3
                                                                    Brown v. DC, 13-569 (CRC)
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 KIMBERLY KATORA BROWN, et al.

                         Plaintiffs,                Civil Action No: 13-569 (CRC)

          v.

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA

                         Defendant


       Nickoya Hoyte's Supplemented Responses to the District's First Set of Interrogatories


Plaintiffs' Objection to Defendant's Instructions


        Plaintiffs object to defendants' instructions because neither Fed. R. Civ. P. 33 nor Fed. R.

Civ. P. 3 authorizes parties to make up their own instructions. Each Plaintiff's responses are

governed by the Rules.


Interrogatory# 1.

State your full name (including any former names or aliases), date of birth, residential address(es)
since age 18, specifying your address during the events alleged in the Second Amended Complaint
and whether you provided that address to the Metropolitan Police Department (MPD) when your
vehicle and/or currency was seized. In addition, provide your driver's license number, identifying
the jurisdiction where you are licensed to drive, both now and at the time of the events alleged in
the Second Amended Complaint.

Objection: work product doctrine; object to providing more than five years' wortl1 of addresses.

Response:

Name:

Nickoya Hoyte

DOB:




                                                                            Ps. Ex. # C, p. 4
                                                                 Brown v. DC, 13-569 (CRC)
     Case 1:13-cv-00569-CRC Document 105-1 Filed 02/03/17 Page 5 of 18




State whether you received a Notice of Intent to Administratively forfeit following the seizure of
your vehicle and/or currency, including the date of the Notice, when you received it, and where it
was received. H you received no Notice and you contend that you would have availed yourself of
procedure to challenge the seizure had you received notice, and that you would have obtained the
property if a post-seizure hearing had been afforded, state all facts and circumstances to support
your contention:

Objection: work product doctrine.

Response:

I did receive notice at the Ripon Street address that the MPD intended to forfeit my car. It was
dated May 24, 2012,just a few weeks after the District took my car. I did pay a bond.

 If I had gotten a prompt post seizure hearing and notice of tl1at hearing I could've explained to tl1e
judge tliat I was an innocent owner and I was entitled to get my car back and I probably could've
 got my car back right away witl10ut having to pay a bond.

I did not receive any notice about my money until August 2015 when tl1e District mailed copies of
court documents relating to tl1e $1500 to my motl1er's house, not to my house.

Police took $1,500 of my money from under my mattress and there was no connection between
me or my money and any criminal activity in the house. If I had gotten a prompt post seizure
hearing and notice of tl1at hearing I could've explained to tl1e judge that I was an innocent owner
and I was entitled to get my money back and I probably could've got my money back right away.




/s/ William Claiborne
William Claiborne




                                                                              Ps. Ex. # C, p. 5
                                                                   Brown v. DC, 13-569 (CRC)
Case 1:13-cv-00569-CRC Document 105-1 Filed 02/03/17 Page 6 of 18




I, Nickoya Hoyte, pursuant to 28 U.S.C. § 1716, certify as true under penalty of perjury under the
laws of the United States of America that the preceding supplemented intcrro!:,>ato11' responses an.·
true to tl1e best of my knowledge.



NicoyaHoyte
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City/ State where signed U..,opR.r:: Q\&.db)ro Ml)

Date si1:,111ed   �_']I or,ur




                                                                              Ps. Ex. # C, p. 6
                                                                   Brown v. DC, 13-569 (CRC)
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 KIMBERLY KATOH.A BROWN, et al.

                         Plaintiffs,                 Civil Action No: 13-569 (CRC)

          v.

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA

                         Defendant



               Marilyn Langly's Responses to the District's First Set of Interrogatories


Plaintiffs Objection to Defendant's Instructions

        Plaintiffs object to defendants' instructions because neither Fed. R. Civ. P. 33 nor Fed. R.
Civ. P. 34 authorizes parties to make up their own instructions. Each Plaintiffs responses are
governed by the Rules.

Interrogatory# 1.

State your full name (including any former names or aliases), date of birth, residential address(es)
since age 18, specifying your address during the events alleged in the Second Amended Complaint
and whether you provided that address to the Metropolitan Police Department (MPD) when your
vehicle and/or currency was seized. In addition, provide your driver's license number, identifying
the jurisdiction where you are licensed to drive, both now and at the time of the events alleged in
the Second Amended Complaint.

Objection: work product doctrine.

Response:

Name:

Marilyn Langly

DOB:




                                                                             Ps. Ex. # C, p. 7
                                                                  Brown v. DC, 13-569 (CRC)
      Case 1:13-cv-00569-CRC Document 105-1 Filed 02/03/17 Page 8 of 18




10.

State whether you received a Notice of Intent to Administratively forfeit following the seizure of
your vehicle and/or currency, including the date of the Notice, when you received it, and where it
was received. H you received no Notice and you contend that you would have availed yourself of
procedure to challenge the seizure had you received notice, and that you would have t         , I - - ;;
_ _ . _ if a post-seizure hearing had been afforded, state all facts and circumstances to support
your contention:

Objection: work product doctrine.

Response:

I never received any written notice.

H no notice, what are facts and circumstances that you would have availed yourself to, to challenge
the seizure:

Had Ms. Langly got a prompt post seizure hearing she probably could have gotten her money bad


I would have followed up and I would have gone to where they told me to go.




/s/ William Claiborne
William Claiborne




                                                                               Ps. Ex. # C, p. 8
                                                                    Brown v. DC, 13-569 (CRC)
Case 1:13-cv-00569-CRC Document 105-1 Filed 02/03/17 Page 9 of 18




                                                                               Ps. Ex. # C, p. 9
                                                                    Brown v. DC, 13-569 (CRC)
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 KIMBERLY KATO RA BROWN, et al.

                         Plaintiffs,               Civil Action No: 13-569 (CRC)

          v.

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA

                         Defendant


        Shane Lucas' Supplemented Responses to the District's First Set of Interrogatories


Plaintiffs Objection to Defendant's Instructions


       Plaintiffs object to defendants' instructions because neither Fed. R. Civ. P. 33 nor Fed. R.

Civ. P. 34 authorizes parties to make up their own instructions. Each Plaintiffs responses are

governed by the Rules.


Interrogatory # 1.

State your full name (including any former names or aliases), date of birth, residential address(es)
since age 18, specifying your address during the events alleged in the Second Amended Complaint
and whether you provided that address to the Metropolitan Police Department (MPD) when your
vehicle and/or currency was seized. In addition, provide your driver's license number, identifying
the jurisdiction where you are licensed to drive, both now and at the time of the events alleged in
the Second Amended Complaint

Objection: work product doctrine.

Response:

Name: Shane Lucas




                                                                           Ps. Ex. # C, p. 10
                                                                 Brown v. DC, 13-569 (CRC)
      Case 1:13-cv-00569-CRC Document 105-1 Filed 02/03/17 Page 11 of 18




10.

State whether you received a Notice of Intent to Administratively forfeit following the seizure of
your vehicle and/or currency, including the date of the Notice, when you received it, and where it
was received. If you received no Notice and you contend that you would have availed yourself of
procedure
 ·          to challenge the seizure had you received notice, and that you would have ·
        'if a post-seizure hearing had been afforded, state all facts and circumstances to support
your contention:

Objection: work product doctrine.

Response:

I never received any notice. If I had got a prompt post seizure hearing and notice of the hearing I
could have explained to the judge that my money was wages and I could have got it back right
away.




/s/ William Claiborne
William Claiborne




                                                                            Ps. Ex. # C, p. 11
                                                                  Brown v. DC, 13-569 (CRC)
                                    Case 1:13-cv-00569-CRC Document 105-1 Filed 02/03/17 Page 12 of 18




I, Sh,u1c l,uras, pursu,u1110 28 l l.S.C. § 17 1.G, rerlify as true under penaltr of perjul}· under the
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                                                                                                         Brown v. DC, 13-569 (CRC)
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                             UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF COLUMBIA



 KIMBERLY KATORA BROWN, et al.



                         Plaintiffs,                Civil Action No: 13-569 (CRC)



          v.



 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA



                         Defendant




      Ramona Person's Supplemental Responses to the District's First Set of Interrogatories



Plaintiffs Objection to Defendant's Instructions

        Plaintiffs object to defendants' instructions because neither Fed. R. Civ. P. 33 nor Fed. R.
Civ. P. 34 authorizes parties to make up their own instructions. Each Plaintiffs responses are
governed by the Rules.

Interrogatory# 1.

State your full name (including any former names or aliases), date of birth, residential address(es)
since age 18, specifying your address during the events alleged in the Second Amended Complaint
and whether you provided that address to the Metropolitan Police Department (MPD) when your
vehicle and/or currency was seized. In addition, provide your driver's license number, identifying




                                                                            Ps. Ex. # C, p. 13
                                                                  Brown v. DC, 13-569 (CRC)
    Case 1:13-cv-00569-CRC Document 105-1 Filed 02/03/17 Page 14 of 18




Interrogatory # 10.

State whether you received a Notice of Intent to Administratively forfeit following the seizure of
your vehicle and/or currency, including the date of the Notice, when you received it, and where it
was received. If you received no Notice and you contend that you would have availed yourself of
procedure to challenge the seizure had you received notice, and that you would have obtained the
property if a post-seizure hearing had been afforded, state all facts and circumstances to support
your contention:

Objection: work product doctrine.

Response:

I did receive a notice at 2221 Bridle Path Dr., Waldorf MD 20601and it is dated April 1, 2013
which is almost six months after the seizure. The police would not tell me the bond to pay until the
notice of intent to administratively forfeit property so I could not pay the bond or submit an
application for waiver/ reduction of the bond. If the MPD had allowed me to promptly submit an
application I probably could have got my bond back.

I believe tliat if I had received notice of a prompt post seizure hearing in a prompt post-seizure
hearing I would've been able to get tl1e return to my vehicle because I didn't do anytl1ing wrong. If
my car were used to break tl1e law I neitl1er knew about it nor consented to it. Even if I did not get
tl1e return of my car at least would've got tl1e use of it during tl1e pendency of tl1e forfeiture
proceedings.

Supplemental response:

The MPD seized my car while it was out or my possession and they released it lo a finance
company and I do not have personal knowledge about these events.


Ms. Person has already supplemented this response lo the extent or her knowledge under Huie
26(e) by pro\'iding a sworn allidm·it detailing the facts and circumstances or her claims.

Ms. Person produced the police reports and the warrant as a supplemental response pursuant to
Huie 26(e).




/s/ William Claiborne

William Claiborne




                                                                            Ps. Ex. # C, p. 14
                                                                  Brown v. DC, 13-569 (CRC)
Case 1:13-cv-00569-CRC Document 105-1 Filed 02/03/17 Page 15 of 18




I. Romona Person, pursuant to 28 lJ.S.C. § 174G, certi[�, as true under penalty of peijury under
tht• laws of the ll nited States of America that the preceding supplemented interrogatory .responsl's
are tme to the best of my knowledge.



���
�� signed - \.Vashington, DC

Date si1,'11ed �---




                                                                            Ps. Ex. # C, p. 15
                                                                  Brown v. DC, 13-569 (CRC)
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                              UNITED STATES DISTRICT COURT
                              FOR TIIE DISTRICT OF COLUMBIA

 KIMBERLY KATORA BRO\i\TN, et al.

                          Plaintiffs,               Civil Action No: 13-569 (CRC)

          v.

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA

                          Defendant


               Terrence Thomas' Responses to the District's First Set of Interrogatories


Plaintiffs Objection to Defendant's Instructions


        Plaintiffs object to defendants' instructions because neither Fed. R. Civ. P. 33 nor Fed. R.

Civ. P. 34 authorizes parties to make up their own instructions. Each Plaintiffs responses are

governed by the Rules.


Interrogatory # 1.

State your foll name (including any former names or aliases), date of birth, residential address(es)
since age 18, specifying your address during the events alleged in the Second Amended Complaint
and whether you provided that address to the Metropolitan Police Department (MPD) when your
vehicle and/or currency was seized. In addition, provide your driver's license number, identifying
the jurisdiction where you are licensed to drive, both now and at the time of the events alleged in
the Second Amended Complaint.

Objection: work product doctrine.


Response:

Name:

Terrence Thomas

DOB:




                                                                           Ps. Ex. # C, p. 16
                                                                 Brown v. DC, 13-569 (CRC)
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Interrogatory # 10.


State whether you received a Notice of Intent to Administratively forfeit following the seizure of
your vehicle and/or currency, including the date of the Notice, when you received it, and where it
was received. If you received no Notice and you contend that you would have availed yourself of
procedure to challenge the seizure had you received notice, and that you would have· obtained the
property if a post-seizure hearing had been afforded, state all facts and circumstances to support
your contention:

Objection: work product doctrine.


Response:


I never received a notice.

If they had sent me notice I would have followed all the procedures to get my money back if my
lawyer had so advised me.

If the District had given me a hearing after they took my money at which I could've explained to a
judge what happened I believe the judge would've given me my money back.


/s/ William Claiborne
William Claiborne




                                                                          Ps. Ex. # C, p. 17
                                                                Brown v. DC, 13-569 (CRC)
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   I, Terrance Thomas, pursuant lo 28 U.S.C. § 171,6, ccrlily as trnc unclcr penalty of perjury under
   the laws of the Unilcd SLalcs of America thal the preceding supplcmculed intcrrov;alory rcspom,cs
   arc Lruc Lo Lhc bcsl of my knowledge .


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   Terra.11c.lThomas
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   Cily/ Stale where signed Woodbridge, VA

  Date signed   .12.:._3 d - /6




                                                                   Ps. Ex. # C, p. 18
                                                         Brown v. DC, 13-569 (CRC)
